        Case 1:20-cv-01240-JEB Document 22 Filed 11/05/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 WP COMPANY LLC d/b/a THE
 WASHINGTON POST, et al.,

       Plaintiffs,
               v.                                     Civil Action No. 20-1240 (JEB)
 U.S. SMALL BUSINESS
 ADMINISTRATION,

       Defendant.



 CENTER FOR PUBLIC INTEGRITY,

       Plaintiff,
               v.                                     Civil Action No. 20-1614 (JEB)
 U.S. SMALL BUSINESS
 ADMINISTRATION,

       Defendant.


                                        ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Plaintiffs’ Cross-Motion for Summary Judgment in No. 20-1240 is GRANTED;

      2. Plaintiff’s Cross-Motion for Partial Summary Judgment in No. 20-1614 is

         GRANTED;

      3. Defendant’s Motion for Summary Judgment in No. 20-1240 is DENIED;

      4. Defendant’s Motion for Partial Summary Judgment in No. 20-1614 is DENIED;




                                            1
        Case 1:20-cv-01240-JEB Document 22 Filed 11/05/20 Page 2 of 2




      5. Defendant shall release the names, addresses, and precise loan amounts of all

         individuals and entities that obtained COVID-related loans pursuant to the Paycheck

         Protection Program and Economic Injury Disaster Loans program by November 19,

         2020; and

      6. Judgment is ENTERED in favor of Plaintiffs in No. 20-1240.

                                                         /s/ James E. Boasberg
                                                         JAMES E. BOASBERG
                                                         United States District Judge
Date: November 5, 2020




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